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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


UNITED STATES OF AMERICA

                      Respondent,


v.                                                   CRIMINAL ACTION NO. 3:02-00069-07
                                                     (CIVIL ACTION NO. 3:04-0805)
WILLIAM HENRY JOHNSON,

                      Movant.

                         MEMORANDUM OPINION AND ORDER

       Pending before the Court is Movant William Johnson’s motion to vacate his sentence

pursuant to 28 U.S.C. § 2255, the Findings and Recommendations of the Magistrate Judge, and

Movant’s objections to the Magistrate Judge’s recommendations. In his objections, Movant argues

that the Government breached its plea agreement by offering evidence of dismissed counts as

relevant conduct. In addition, Movant contends that his sentence conflicts with the Fifth and Sixth

Amendment case law established in Apprendi v. New Jersey, 530 U.S. 466 (2000), Blakely v.

Washington, 542 U.S. 296 (2004) and United States v. Booker, 543 U.S. 220 (2005). For the reasons

stated below, the Magistrate Judge’s proposed findings and recommendations are ADOPTED,

Movant’s objections are DENIED, and Movant’s motion is DISMISSED.

                                        BACKGROUND

       Movant William Henry Johnson pled guilty on May 20, 2002 to Count 12 of a multi-count,

multi-defendant indictment for distribution of cocaine base in violation of 21 U.S.C. § 841(a)(1).1


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        In Count 1 of the indictment, Johnson was charged with conspiring to distribute cocaine
                                                                                  (continued...)
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This Court sentenced Johnson on August 19, 2002 to a term of imprisonment of eighty-four months

and three years of supervised release. The Court dismissed the remaining three counts against

Johnson at that time in accordance with his plea agreement with the Government.

       Johnson subsequently appealed his sentence pursuant to Anders v. California, 386 U.S. 738

(1967). In his appeal, Johnson argued that the amount of drugs attributed to him had been

miscalculated and that the court improperly refused to reduce his base offense level by two levels

based upon his minor role in the offense. The appellate court affirmed his conviction and sentence

on February 27, 2004, finding no plain error in the determination of drug quantity or in denying

Johnson’s request for a downward adjustment in his offense level. United States v. Johnson, 88 Fed.

Appx. 653 (4th Cir. 2004).

       Johnson then filed the pending motion to vacate his sentence on August 2, 2004 pursuant to

28 U.S.C. § 2255. In his motion, Johnson argues that the Government breached its plea agreement

by including evidence of drug quantities from dismissed counts in determining his base offense

level. Johnson also contends that his Sixth Amendment rights were violated by imposing a sentence

on the basis of facts not found beyond a reasonable doubt by a jury of his peers. This motion was

referred to Magistrate Judge Taylor for proposed findings and recommendation pursuant to 28

U.S.C. § 636(b) and a Standing Order. In July 2006, Magistrate Judge Taylor entered his proposed

findings and recommended that Johnson’s motion be denied. Johnson objects to the proposed

findings and recommendation. In his objections, Johnson reasserts his initial arguments and offers




       1
        (...continued)
base in violation of 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 846. Counts 10, 12, and 18 charged
Johnson with distributing an unspecified amount of cocaine in violation of 21 U.S.C. § 841(a)(1).

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a third argument, that his right to due process was violated by determining relevant conduct by a

lesser standard of proof than beyond a reasonable doubt.

                                           ANALYSIS

I. Standard of Review

       The Magistrate Judge makes a recommendation to this Court, but this recommendation has

no presumptive weight and the responsibility to make a final determination remains with the Court.

Matthews v. Weber, 423 U.S. 261, 270–71 (1976). The Court conducts a de novo review of those

portions of the Findings and Recommendations to which specific objections are made. 28 U.S.C.

§ 636(b)(1)(C). The Court will address each of the Movant’s objections in turn.

II. Breach of Plea Agreement

       First, Movant claims the Government breached its plea agreement by offering evidence of

drug quantities involved in dismissed counts in determining his base offense level. This argument

lacks merit, however, because the plea agreement clearly stated that the Government “reserve[d] the

right to [i]nform the Probation Office and the Court of all relevant facts and conduct.” (Plea

Agreement 5.) The plea agreement plainly explained that the matter of sentencing is within the sole

discretion of the Court, which necessarily requires that the Court possess all relevant information

regarding the defendant. Therefore, the Government has an affirmative duty to inform the Court of

such relevant information. United States v. Perrera, 842 F.2d 73, 75 (4th Cir. 1988). In considering

this relevant information, the Court may include conduct pertaining to violations dismissed pursuant

to a plea agreement, but the use of this information by the Court does not constitute a breach of the

plea agreement. United States v. Jackson, 885 F.2d 867 (4th Cir. 1989) (holding that consideration

of relevant conduct from other dismissed offenses does not breach plea agreement); United States


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v. Williams, 880 F.2d 804, 805–06 (4th Cir. 1989) (affirming use of relevant conduct from dismissed

charges in determining base offense level); see also United States v. Valenti, 121 F.3d 327, 334 (7th

Cir. 1997) (“It is well established that in determining a defendant’s sentence a court may consider

a broad range of information, including uncharged crimes, crimes where charges have been

dismissed, and crimes for which the defendant has been acquitted.”); United States v. McGee, 7 F.3d

1496, 1499 (10th Cir. 1993) (“The use of dismissed counts to determine the offense level is

proper.”). Accordingly, Movant’s objection that the Government breached its plea agreement is

denied.

III. Sixth Amendment and Due Process Violations

          Second, Movant claims that the Court improperly calculated his base offense level by

including evidence not admitted or found by a jury of his peers. Movant bases this argument upon

the precedent established in Apprendi v. New Jersey, 530 U.S. 466 (2000), Blakely v. Washington,

542 U.S. 296 (2004) and United States v. Booker, 543 U.S. 220 (2005). In sum, Movant claims that

including this relevant conduct violates his Sixth Amendment rights and his right to due process.

          As an initial matter, the Court notes that Movant admitted distributing not less than five

grams of cocaine base.2 The Court calculated his base offense level of 26 based upon this admission.


          2
        THE COURT: All right. Mr. Johnson, you understand your attorney is advising me that you
objected to several of the paragraphs in the report that attributed certain amounts of crack to you and
then resulted in a total amount of crack as being somewhere between 5 and 20 grams.
        Do you understand that?

          THE DEFENDANT: Yes, sir.

        THE COURT: And that, as your attorney is advising me, that even if you’re right on your
objections, he -- and he says you -- agree that the Government could still establish at least 5 grams
of crack cocaine against you.
                                                                                       (continued...)

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As a result, the precedent set forth in Apprendi, Blakely, and Booker is inapplicable. Apprendi


       2
       (...continued)
       THE DEFENDANT: Yes, sir.

        THE COURT: And so even if you’re right, if the Government can prove 5 grams against you,
then the drug quantity for sentencing purposes is going to be the same - -

       THE DEFENDANT: Yes, sir.

       THE COURT: - - and produces the same range. Do you understand that?

       THE DEFENDANT: Yes, sir. I understand that, sir.

       THE COURT: All right. Have you discussed all this with your attorney?

       THE DEFENDANT: Yes, sir.

        THE COURT: And has he explained that if you withdraw the objections, that means that I
will find nonetheless that at least 5 grams of crack should be attributed to you for sentencing
purposes?

       THE DEFENDANT: Yes, sir.

       THE COURT: And you believe that’s accurate?

       THE DEFENDANT: Yes, sir.

       THE COURT: And you believe that that’s fair?

       THE DEFENDANT: Yes, sir.

        THE COURT: And do you understand that by agreeing to this and by withdrawing your
objections, you can’t come around later and complain to me or an appeals court that the wrong
amount of crack was attributed to you?

       THE DEFENDANT: Yes, sir, I understand.

        THE COURT: All right. All right. In view of that, the Court will accept the representations
of counsel and the agreement reached with the defendant and consider for purposes of this
sentencing that at least 5 grams of crack can be attributed - - should be attributed or will be
attributed to Mr. Johnson for sentencing purposes.
(Sentencing Tr. 5–7.)

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applies only in situations where the defendant’s sentence exceeds the statutory maximum, which is

not the case here.3 Similarly, Blakely and Booker do not apply because of Movant’s admission in

open court as to the applicable drug quantity. Booker requires that “[a]ny fact (other than a prior

conviction) which is necessary to support a sentence exceeding the maximum authorized by the facts

established by a plea of guilty or a jury verdict must be admitted by the defendant or proved to a jury

beyond a reasonable doubt.” Booker, 543 U.S. at 244. A defendant may admit facts by guilty pleas,

stipulations, statements in open court, or representations by counsel. United States v. Revels, 455

F.3d 448, 450 (4th Cir. 2006). In this case, Movant withdrew his objections to the presentence

investigation report during the sentencing hearing, conceding that even if the objections were

upheld, the Government could still attribute at least five grams of cocaine base to him. The Court

did not conduct further factfinding in calculating the base offense level beyond this admission by

Movant.4 Accordingly, his Sixth Amendment right to a trial by jury as set forth in Blakely and

Booker does not apply here.

       Moreover, Blakely and Booker do not apply retroactively. Morris, 429 F.3d at 72 (“The rule

announced in Booker . . . is not available for post-conviction relief for federal prisoners . . . whose

convictions became final before Booker (or Blakely) was decided.”). In this case, Movant was

sentenced on August 19, 2002, and subsequently affirmed on February 27, 2004. The Supreme


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         The Court sentenced Johnson to eighty-four months imprisonment, which is considerably
less than the statutory maximum of twenty years.
       4
         Even if the Court had conduct further factfinding, this would not have violated Movant’s
right to due process. It is well settled that sentencing decisions made by a preponderance of the
evidence standard comport with both the requirements of the Sixth Amendment and with due
process. See United States v. Morris, 429 F.3d 65, 71–72 (4th Cir. 2005); see also United States v.
Okai, 454 F.3d 848, 852 (8th Cir. 2006) (“[S]entencing facts found by a preponderance of evidence,
whether under a mandatory or advisory Guidelines regime, generally comport with due process.”).

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Court issued its opinion in Blakely on June 24, 2004, and Booker followed on January 12, 2005.

Movant’s conviction became final on or about May 27, 2004, when the time to file a petition for

certiorari to the Supreme Court elapsed. Clay v. United States, 537 U.S. 522, 527–32 (2003); Sup.

Ct. R. 13. Therefore, Movant’s conviction became final before the Supreme Court issued either

Blakely or Booker, which, therefore, precludes any retroactive application in this case. Accordingly,

Movant’s objections that his Sixth Amendment rights and his right to due process were violated are

denied.

                                         CONCLUSION

          The record conclusively demonstrates that none of the grounds offered entitle Movant to

relief. Accordingly, the Court, upon de novo review, ADOPTS the Findings and Recommendation

of the Magistrate Judge, DENIES Movant’s objections, and DISMISSES Movant’s motion to

vacate his sentence pursuant to 28 U.S.C. § 2255.

          The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.



                                                      ENTER:         June 5, 2007




                                                       ROBERT C. CHAMBERS
                                                       UNITED STATES DISTRICT JUDGE




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